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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                  8:13CR107
                      Plaintiff,              )
                                              )
         vs.                                  )                  ORDER
                                              )
GARY S. REIBERT,                              )
                                              )
                      Defendant.              )
         This matter is before the court on the motion to continue by defendant Gary S.
Reibert (Reibert) (Filing No. 374). Reibert seeks a continuance of the trial of this matter
scheduled for March 9, 2015. Reibert’s counsel represents Reibert will file an affidavit
whereby Reibert consents to the motion and acknowledges he understands the additional
time may be excludable time for the purposes of the Speedy Trial Act. Reibert’s counsel
represents that counsel for the government has no objection to the motion. Upon
consideration, the motion will be granted.


         IT IS ORDERED:
         1.    Reibert's motion to continue trial (Filing No. 374) is granted.
         2.    Trial of this matter is re-scheduled for April 13, 2015, before Senior Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
February 10, 2015, and April 13, 2015, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendant’s counsel requires additional time to adequately prepare the case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).
         DATED this 10th day of February, 2015.
                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
